Case 1:19-md-02875-RMB-SAK   Document 2793-1   Filed 08/02/24   Page 1 of 38
                             PageID: 104024



                 UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY
                       CAMDEN VICINAGE

                                        MDL No. 2875
IN RE: VALSARTAN, LOSARTAN,
AND IRBESARTAN PRODUCTS                 Honorable Renée Marie Bumb,
LIABILITY LITIGATION                    District Court Judge


This Document Relates to All Actions


 DEFENDANT ZHEJIANG HUAHAI PHARMACEUTICAL CO., LTD.’S
MEMORANDUM IN SUPPORT OF OBJECTIONS TO AND MOTION TO
 REVERSE SPECIAL MASTER ORDER 100 GRANTING PLAINTIFFS’
             MOTION FOR RULE 37 SANCTIONS
Case 1:19-md-02875-RMB-SAK                    Document 2793-1             Filed 08/02/24         Page 2 of 38
                                              PageID: 104025



                                      TABLE OF CONTENTS
                                                                                                           Page

BACKGROUND ....................................................................................................4

        A.       The Deposition of Baohua Chen .........................................................5

        B.       Production of Documents ....................................................................9

        C.       Jinsheng Lin’s July 27, 2017 Email .................................................. 11

        D.       Special Master’s Ruling And Sanctions ............................................ 13

ARGUMENT........................................................................................................ 15

I.      ZHP DID NOT ENGAGE IN SANCTIONABLE CONDUCT. .................. 16

        A.       ZHP Acted In Good Faith And With Reasonable Diligence To
                 Secure Mr. Chen’s Presence For His Deposition. .............................. 16

        B.       ZHP Produced The Documents That The Special Master Found
                 Remain Outstanding. ........................................................................ 24

II.     THE SEVERE SANCTIONS APPROVED BY THE SPECIAL
        MASTER ARE DISPROPORTIONATE AND UNCONNECTED TO
        THE ALLEGED VIOLATIONS. ................................................................ 26

CONCLUSION .................................................................................................... 32




                                                         i
Case 1:19-md-02875-RMB-SAK                  Document 2793-1           Filed 08/02/24        Page 3 of 38
                                            PageID: 104026



                                  TABLE OF AUTHORITIES
                                                                                                  Page(s)
                                                 CASES

In re Activision Blizzard, Inc.,
       86 A.3d 531 (Del. Ch. Ct. 2014) ................................................................. 21

Cache La Poudre Feeds, LLC v. Land O’Lakes, Inc.,
     244 F.R.D. 614 (D. Colo. 2007) .................................................................. 25

Castellani v. City of Atlantic City,
      No. 13-5848 (JBS/AMD), 2016 WL 7131576 (D.N.J. June 30, 2016) ........ 24

Chevron Corp. v. Donziger,
     296 F.R.D. 168 (S.D.N.Y. 2013) ................................................................. 20

Clientron Corp. v. Devon IT, Inc.,
      894 F.3d 568 (3d Cir. 2018) ........................................................................ 28

Consolidated Aluminum Corp. v. Alcoa, Inc.,
     244 F.R.D. 335 (M.D. La. 2006) ................................................................. 29

Egyptian Chamois Co. v. Evergreen Marine Corp.,
      No. CV 99-5080, 2001 WL 1737458 (C.D. Cal. Jan. 25, 2001) .................. 21

Emerson v. Wetherill,
     No. CIV. 92-4082, 1994 WL 249769 (E.D. Pa. June 1, 1994) ..................... 29

Estate of Boyles v. Gree USA, Inc.,
      No. 1:20-CV-276, 2021 WL 3292727 (M.D.N.C. Aug. 2, 2021) ................ 21

FS2 Capital Partners, LLC v. Church,
     No. 14-4933, 2015 WL 246339 (E.D. Pa. Jan. 16, 2015) ............................ 27

Gertcher v. Therrian,
      No. 2:20-cv-240, 2022 WL 842655 (W.D. Mich. Mar. 22, 2022) ............... 27

Giorgi Global Holdings, Inc. v. Smulski,
      No. 17-4416, 2022 WL 4389523 (E.D. Pa. Sept. 22, 2022) ......................... 20

                                                     ii
Case 1:19-md-02875-RMB-SAK                     Document 2793-1             Filed 08/02/24          Page 4 of 38
                                               PageID: 104027



Givaudan Fragrances Corp. v. Krivda,
     No. 08-4409 (PGS), 2012 WL 12917268 (D.N.J. May 8, 2012) .................. 24

In re Lands’ End Leasing, Inc.,
       220 B.R. 226 (Bankr. D.N.J. 1998) ............................................................. 27

Lasky v. Continental Products Corp.,
      569 F. Supp. 1227 (E.D. Pa. 1983) .............................................................. 17

Lawson v. Praxair, Inc.,
     No. 16-2435(BRM)(DEA), 2023 U.S. Dist. LEXIS 198253
     (D.N.J. Apr. 28, 2023) ................................................................................ 15

Linde v. Arab Bank, PLC,
      269 F.R.D. 186 (E.D.N.Y. 2010) .......................................................... 20, 21

Prokosch v. Catalina Lighting, Inc.,
     193 F.R.D. 633 (D. Minn. 2000) ................................................................. 25

Societe Interationale Pour Participations Industrielles et Commerciales,
      S. A. v. Rogers,
      357 U.S. 197 (1958) .......................................................................... 2, 17, 19

Sovulj v. United States,
      No. 98 CV 5550FBRML, 2005 WL 2290495
      (E.D.N.Y. Sept. 20, 2005) ........................................................................... 29

Valeant Pharmaceuticals International, Inc. v. AIG Insurance Co.,
      No. 18-493 (MAS)(LHG), 2020 U.S. Dist. LEXIS 244479
      (D.N.J. Dec. 30, 2020) ................................................................................ 16

In re Westinghouse Electric Corp. Uranium Contracts Litigation,
      563 F.2d 992 (10th Cir. 1977) ................................................... 17, 18, 19, 20

                                                    RULES

Fed. R. Civ. P. 53(f)(3) ......................................................................................... 15

Fed. R. Civ. P. 53(f)(4) ......................................................................................... 15



                                                         iii
Case 1:19-md-02875-RMB-SAK         Document 2793-1     Filed 08/02/24   Page 5 of 38
                                   PageID: 104028



      Defendant Zhejiang Huahai Pharmaceutical Co., Ltd. (“ZHP”), by and

through its undersigned counsel, hereby objects to Special Master Order 100 (“SMO

100”) (ECF No. 2778) awarding adverse inference instructions under Rule 37.

      In December 2021, Plaintiffs filed a motion seeking trial sanctions based on:

(1) ZHP’s President Baohua Chen’s inability to be deposed in this case after being

denied permission by the People’s Republic of China (the “Chinese government”)

to travel out of the country for such a deposition; and (2) ZHP’s initial concerns

about producing a relatively small number of documents subject to Chinese data

privacy statutes, all of which were produced in 2022. On July 22, 2024, the Special

Master authorized two “adverse” jury instructions in Plaintiffs’ favor, both of which

would have the clear effect of substantially diluting Plaintiffs’ burden of proof with

respect to a fundamental substantive issue in the case: whether ZHP was aware of

the presence of nitrosamines in its valsartan active pharmaceutical ingredient

(“API”) in 2017 and failed to disclose it.

      SMO 100 authorizes jurors to “infer” that: (1) “Mr. Chen’s deposition

testimony would have included information about ZHP’s” supposed “knowledge of

the nitrosamine contamination” of the medication at issue; and (2) documents ZHP

has allegedly withheld “would have been unfavorable to ZHP.” (SMO 100 at 11,

12.) Although the Special Master repeatedly highlighted the “permissive” nature of

these two inferences, jurors would almost certainly draw the inference that these two
Case 1:19-md-02875-RMB-SAK          Document 2793-1     Filed 08/02/24    Page 6 of 38
                                    PageID: 104029



instructions invite them to reach, neither of which is based in either law or fact.

          First, the evidence does not establish that ZHP engaged in sanctionable

conduct. Even before Judge Kugler affirmed the Special Master’s ruling compelling

Mr. Chen’s deposition in August 2021 (ECF No. 1475), ZHP had initiated the

process of seeking permission from the Chinese government to allow Mr. Chen to

travel out of mainland China for his deposition, establishing ZHP’s reasonable and

good-faith attempts to comply with the order. The fact that the Chinese government

ultimately barred Mr. Chen from leaving the country demonstrates that any non-

compliance with Judge Kugler’s discovery order was entirely the result of foreign

law and foreign government action, which is a “weighty” reason for declining to

impose sanctions. See Societe Interationale Pour Participations Industrielles et

Commerciales, S. A. v. Rogers, 357 U.S. 197, 211-13 (1958) (reversing imposition

of sanctions). While the Court inquired during the recent status conference about

what efforts have been undertaken to secure Mr. Chen’s deposition “lately” (ECF

No. 2791 (“July 23, 2024 Hr’g Tr.”) 154:2-6), Mr. Chen cannot file a new

application for a travel permit without providing a new reason/purpose for foreign

travel.

          SMO 100 also misunderstands the relevant discovery record in finding that

ZHP improperly failed to produce documents. ZHP produced the documents at issue

to Plaintiffs by October 2022, 18 months before the sanctions order. While ZHP



                                           2
Case 1:19-md-02875-RMB-SAK         Document 2793-1      Filed 08/02/24   Page 7 of 38
                                   PageID: 104030



initially objected to producing a number of the documents, primarily because they

were subject to protection under Chinese data privacy laws, it produced the

documents at the risk of penalty under those foreign laws and represented as much

in a sworn certification provided to Plaintiffs in 2022 at the Special Master’s

direction. The Special Master nonetheless suggested that ZHP is continuing to

withhold: (1) a native version of a July 27, 2017 email written by a ZHP scientist

about a different drug molecule known as irbesartan that has been produced as a

PDF; and (2) “any [additional] drafts” of a report on irbesartan related to that email,

a version of which has also already been produced. ZHP is not withholding any

materials. ZHP’s counsel has certified under oath that ZHP has produced all non-

privileged documents within its possession, and there is no basis for crediting

Plaintiffs’ speculation that “more documents [or versions of documents] exist.”

(ECF No. 2750, at 30-32.)

      Second, the sanctions ordered by the Special Master would be unjust, even if

ZHP had engaged in sanctionable conduct, because of their severity and because

they are not sufficiently tied to the alleged misconduct. The Special Master sought

to downplay the severity of the sanctions by labeling them as merely “permissive”

in nature and highlighting the fact that he had denied more extreme “death penalty”

punishments, such as striking ZHP’s defenses or deeming certain allegations

admitted. (SMO 100, at 1-2.) This reasoning fundamentally misapprehends the



                                          3
Case 1:19-md-02875-RMB-SAK          Document 2793-1       Filed 08/02/24    Page 8 of 38
                                    PageID: 104031



import of the two jury instructions, which would invite jurors to accept Plaintiffs’

central theory of the case—that ZHP had prior “knowledge of the nitrosamine

contamination of ZHP’s Valsartan”—without requiring Plaintiffs to satisfy their

burden of proof. (Id. at 20.) But Plaintiffs did not allege the sort of bad faith required

for the harsh sanction of an adverse inference, and the adverse inferences would not

“restore” Plaintiffs to the position they would have been in if Mr. Chen had been

deposed. Mr. Chen would not have been able to provide any evidence related to

ZHP’s purported knowledge of nitrosamine impurities in the summer of 2017

because he was not a recipient of the July 2017 email, and there is no other evidence

that he was aware of the nitrosamine-related issues it raised. In other words, SMO

100 would punish ZHP and reward Plaintiffs by telling the jury that one of Plaintiffs’

central contentions is true, even though that contention is not tied to the allegedly

missing discovery.

      For all of these reasons, elaborated in greater detail below, and in ZHP’s prior

objections to SMO 98 (ECF Nos. 2738, 2767), which are incorporated herein by

reference, the Court should sustain ZHP’s objections to the Special Master’s ruling

and overrule it.

                                   BACKGROUND

      Throughout this multi-year MDL proceeding, Plaintiffs have obtained

voluminous discovery from ZHP and its affiliates, including depositions of ten



                                            4
Case 1:19-md-02875-RMB-SAK        Document 2793-1      Filed 08/02/24   Page 9 of 38
                                  PageID: 104032



corporate representatives and seven fact witnesses. (See ECF No. 1900, at 11.) In

addition, ZHP and its affiliates have produced almost 400,000 documents totaling

more than 3.5 million pages, which were collected from more than 90 custodians

using more than 400 search terms identified by Plaintiffs.          (Id. at 14 n.7.)

Nonetheless, on December 30, 2021, Plaintiffs moved for sanctions under Rule 37,

arguing that ZHP should be punished because: (1) the Chinese government refused

to allow Mr. Chen to leave mainland China to provide a deposition in this litigation;

and (2) ZHP allegedly failed to produce a relatively small number of documents that

have now long been produced. (See generally ECF No. 1838-1.)

      A.     The Deposition of Baohua Chen

      From the outset of this litigation, Plaintiffs knew that deposing Chinese

citizens who reside in China would likely require permission from the Chinese

government through certain procedures established under the Hague Convention and

China’s Civil Procedure Law. (See ECF No. 86 16:3-6; ECF No. 579 14:2, 21:11

(Court recognizing the “very sticky” and “amazingly complex” issues in securing

depositions of Chinese nationals); ECF No. 565 25:21-26:4 (ZHP counsel explaining

that “Hague Convention protocols would apply”).)         Plaintiffs, however, never

invoked the Hague Convention or sought approval from the Chinese government to

depose ZHP witnesses living in China. (See ECF No. 610, at 37-38 (“Plaintiffs

can—they certainly are permitted, they haven’t made any attempt and, in fact, have



                                         5
Case 1:19-md-02875-RMB-SAK        Document 2793-1     Filed 08/02/24   Page 10 of 38
                                  PageID: 104033



outright refused to make an attempt to obtain a letter of request to depose a witness

in China”).)    Nonetheless, to accommodate Plaintiffs’ request for corporate

representative and individual fact witness depositions, ZHP facilitated the travel of

12 witnesses to Macao to provide remote deposition testimony, an arduous process

that was further complicated by logistical and bureaucratic hurdles relating to the

COVID-19 pandemic. (See ECF No. 1900, at 5 n.3.) These witnesses addressed

close to 60 different topics, including, inter alia, testing of valsartan, quality

assurance, communications with regulatory bodies and compliance with regulatory

standards. (See ECF No. 703-1 (listing 30(b)(6) topics).)

      On the heels of this substantial discovery, ZHP objected to Plaintiffs’ demand

to depose its President, Mr. Chen, under the “apex” doctrine, explaining that Mr.

Chen “had no material involvement in the valsartan manufacturing, testing,

analytical, quality control, quality assurance, research and development, recall,

regulatory and sales functions at issue in this litigation.” (ECF No. 1247-2, at 2-3

(emphasis added); see also ECF No. 1900-5 364:5-14 (ZHP party witness testifying:

“I don’t think [Mr. Chen] has any time for that”).) The Special Master rejected that

argument, and Judge Kugler affirmed his decision on June 22, 2021, holding that

“plaintiffs cannot know what Mr. Chen will say specifically about the API

contamination and his role in it until he is deposed.” (ECF No. 1475, at 2.)

      Even prior to Judge Kugler’s ruling, ZHP diligently began the process to



                                         6
Case 1:19-md-02875-RMB-SAK       Document 2793-1     Filed 08/02/24   Page 11 of 38
                                 PageID: 104034



secure permission for Mr. Chen to cross the Chinese border and travel to Macao1 so

that he could be deposed if Judge Kugler affirmed the Special Master’s holding. (See

ECF No. 1900-1 (“Lu Decl.”) ¶ 3.) Unlike the 12 other ZHP witnesses, Mr. Chen

has various roles in the Chinese government and therefore is not permitted to travel

outside of mainland China absent express approval from ZHP’s Communist Party

Committee, the Taizhou Federation of Industry and Commerce, and the Taizhou

Exit-Entry Administration of the Public Security Bureau. (Id. ¶ 14.) ZHP employee

Sihan Lu took the following steps to secure the requisite government approval:

         • Ms. Lu had “preliminary” discussions with the Taizhou Federation of
           Industry and Commerce regarding Mr. Chen’s application in early June
           2021. (Id. ¶ 3.)

         • Ms. Lu completed and submitted the required Approval Form for
           Leading Cadres to Leave China (border) for Private Purposes to ZHP’s
           Communist Party Committee on June 9, 2021. (Id. ¶¶ 4, 6.) That
           Committee granted Mr. Chen’s request the following day. (Id. ¶ 7.)

         • On June 14, 2021, Ms. Lu submitted Mr. Chen’s application to the
           Taizhou Federation of Industry and Commerce. (Id. ¶ 8.)

         • Ms. Lu subsequently followed up “from time to time on the application
           status.” (Id. ¶ 9.)

         • On October 21, 2021, the Taizhou Federation of Industry and
           Commerce verbally notified ZHP that Mr. Chen’s request would not be
           granted. (Id. ¶ 10.)

         • Ms. Lu held further discussions with the Taizhou Federation of Industry
           and Commerce “to determine if the restriction on Mr. Chen’s travel

1
     Macao is a Special Administrative Region with its own legal code where
compliance with American discovery demands is legally permitted.


                                         7
Case 1:19-md-02875-RMB-SAK         Document 2793-1     Filed 08/02/24    Page 12 of 38
                                   PageID: 104035



             could be lifted or modified.” (Id. ¶ 11.) Those conversations were
             unsuccessful, with a written denial being delivered to ZHP on
             November 12, 2021. (Id. ¶ 12.)

          • On January 19, 2022, Ms. Lu sought permission to publicly disclose the
            written denial, which was denied. (Id. ¶ 13.)

      Despite ZHP’s efforts to facilitate Mr. Chen’s deposition—and without first

attempting to meet and confer with ZHP—Plaintiffs moved for sanctions, accusing

ZHP of bad faith and suggesting that Mr. Chen could have somehow forced the

Chinese government to approve his travel request if he had wanted to attend the

deposition. (See ECF No. 1838-1, at 16; ECF No. 2182 (“Sept. 8, 2022 Hr’g Tr.”)

28:14-16, 52:9-25.) While ZHP strongly disputed these claims (see, e.g., Sept. 8,

2022 Hr’g Tr. 41:3-23), the Special Master stated that there “[s]hould . . . be a

declaration of a witness, or something that is evidentiary in nature” addressing these

points (id. 41:24-42:6).    Accordingly, on October 13, 2022, ZHP submitted a

declaration from Professor Jacques deLisle—Co-Director of the Center for Asian

Law at the University of Pennsylvania (ECF No. 2175-2 (“deLisle Decl.”))—

explaining why “[t]he efforts described in the Lu Declaration are consistent with

known patterns of efforts by applicants seeking government approvals of various

types in China.” (deLisle Decl. ¶ 27.) Professor deLisle further explained that “[t]he

choice of wording on the Application Form, the non-inclusion of the Special

Master’s ruling, and the rejection of the application are also consistent with, and may

reflect, broader concerns that party and state authorities in China have expressed and


                                          8
Case 1:19-md-02875-RMB-SAK         Document 2793-1       Filed 08/02/24   Page 13 of 38
                                   PageID: 104036



embedded in policies and rules.” (Id. ¶ 28.) For example, Professor deLisle noted

that ZHP’s decision not to attach the Court order compelling Mr. Chen’s deposition

to the application is consistent with the fact that a “request to exit mainland China

to be deposed in litigation in a foreign court proceeding raises particular concerns

about which a relatively sophisticated applicant might well worry (and, in turn, such

an applicant would seek to avoid drawing attention to this purpose in a request for

permission to travel).” (Id. ¶ 29.) In other words, including that information could

have precisely the opposite effect of that intended: i.e., it could lead to denial of the

application.

      On May 4, 2023—nearly seven months after ZHP provided the declaration—

the Special Master struck the declaration as untimely. (ECF No. 2371, at 5.)

      B.       Production of Documents

      On April 27, 2021, Plaintiffs notified the Court that the parties had reached an

impasse with respect to four narrow categories of documents that the Special Master

ultimately ordered be produced: (1) the custodial file of Maggie Kong, Mr. Chen’s

chief of staff; (2) an investigative report regarding alleged contamination of

irbesartan, a different drug molecule from the valsartan API that is the basis of

Plaintiffs’ claims; (3) all documents referencing “TC-201729,” the project name for

a lab-scale study of irbesartan; and (4) all documents relating to the batch testing for

nitrosamines referenced in a document bearing Bates Number PRINSTON0075797.



                                           9
Case 1:19-md-02875-RMB-SAK        Document 2793-1      Filed 08/02/24   Page 14 of 38
                                  PageID: 104037



(See generally ECF No. 1753.) While ZHP initially could not produce some of the

requested documents due to technical difficulties and/or the passage of China’s Data

Security Law, ZHP “agreed to produce the Documents—at the risk of penalty under

Chinese law” in February 2022. (ECF No. 1900, at 3; see also id. at 16 (ZHP

informing Plaintiffs that it would produce all of the remaining requested documents

despite failing to obtain permission to do so from the Chinese government).)

      Plaintiffs nonetheless insisted eight months later at oral argument that ZHP

had still not met its production obligations. At that point, the Special Master stated

that “it would be appropriate” for ZHP to “certify that [it has] complied with Special

Master Order 54” and that the “record should reflect” such a “certification”—i.e.,

that ZHP’s counsel “conducted a diligen[t] search and produced everything that [was]

ordered to be produced that [ZHP] could find.” (Sept. 8, 2022 Hr’g Tr. 39:3-8.) On

October 21, 2022, ZHP’s counsel provided Plaintiffs with such a certification that

included, inter alia: (1) an attestation that counsel had personally investigated the

steps taken to identify the whereabouts of the four categories of documents discussed

in SMO 54; (2) a representation that counsel had confirmed that the searches were

conducted in a manner consistent with the Rules; (3) identification by bates number

of additional documents produced as a result of those searches; and (4) confirmation

that no more additional responsive documents were available. (See generally ECF

No. 2738-3 (“Bernardo Cert.”).)



                                         10
Case 1:19-md-02875-RMB-SAK         Document 2793-1      Filed 08/02/24   Page 15 of 38
                                   PageID: 104038



C.    Jinsheng Lin’s July 27, 2017 Email

      Throughout this litigation, Plaintiffs have claimed that the four categories of

documents discussed above are relevant because they may shed light on a July 27,

2017 email sent by ZHP analyst Dr. Jinsheng Lin to some of his ZHP colleagues.

      Dr. Lin’s email—which was written in his native language of Chinese—

addresses a hypothetical impurity in the lab-scale production of irbesartan, which

(as previously noted), is a different drug molecule from the valsartan API at issue in

this litigation. (See ECF No. 2604, at 4.) Different translations of this document

exist, and Plaintiffs have taken the position that some of those translations show that

Dr. Lin compared the hypothetical impurity in irbesartan to nitrosamine impurities

found in valsartan. As a result, Plaintiffs assert that the email shows that “ZHP knew

that its valsartan was contaminated with NDMA” as of 2017. (See, e.g., ECF No.

2569-2, at 1.) By contrast, ZHP’s corporate representative, Jucai Ge, who was an

original recipient of the email, has testified that Dr. Lin’s email references a patent,

which is attached to his email, that notes the potential for the formation of “Valsartan

Impurity K,” a different nitrosated impurity that can form when deacylated valsartan

(yet another drug molecule) is quenched with sodium nitrite. (See ECF No. 2569-5

at Ex. 30 110:6-22; ECF No. 2569-5 at Ex. 109.) As ZHP’s witnesses have noted,

it was this substance—Valsartan Impurity K formed by the quenching of deacylated

valsartan—that Dr. Lin was suggesting the irbesartan impurity resembled, not



                                          11
Case 1:19-md-02875-RMB-SAK       Document 2793-1     Filed 08/02/24    Page 16 of 38
                                 PageID: 104039



NDMA formed during the manufacture of the valsartan API at issue in this litigation.

(See ECF No. 2569-5 at Ex. 30 110:18-22.) Plaintiffs have never sought Dr. Lin’s

deposition. Judge Kugler expressly recognized, in denying Plaintiffs’ motion for

partial summary judgment against ZHP on their fraud claims, that the meaning and

import of the July 27, 2017 email are factual questions for the jury to decide in

resolving Plaintiffs’ allegations. (See ECF No. 2694, at 52 & n.53.)

      Mr. Chen was not a recipient of Dr. Lin’s email. In addition, the individuals

at ZHP who did receive the email made clear in their depositions that because the

email pertained to science issues, it would not have been discussed with Mr. Chen

in his role as President. (See, e.g., ECF No. 2663-27 at Ex. 1 96:5-21 (ZHP employee

testifying that she did not inform Mr. Chen of Dr. Lin’s July 27 email and that it

would be her expectation that the issues discussed “would not be reported to Mr.

Baohua Chen”); ECF No. 2663-12 598:9-610:7 (ZHP employee testifying that he

believes Mr. Chen was not informed of the July 27 email).) 2 Finally, the Special

Master noted that there was “no testimony . . . that there was a failure to follow




2
       Plaintiffs have suggested that because the July 27, 2017 email was not found
in Dr. Lin’s custodial file at the time documents were produced in 2020-2021, ZHP
must have “intended to conceal the email and any surrounding documents and
communications.” (ECF No. 2682, at 6 n.1.) This unsupported accusation was
previously rejected by Judge Vanaskie. (See ECF No. 1573 43:21-24.) And while
Plaintiffs have also suggested that ZHP is withholding the “native” version of the
July 27, 2017 email, ZHP only located a PDF version of the document.


                                        12
Case 1:19-md-02875-RMB-SAK         Document 2793-1     Filed 08/02/24    Page 17 of 38
                                   PageID: 104040



litigation hold advice,” nor “evidence of the loss of any particular data,” including

with regard to the July 27, 2017 email. 3 (See ECF No. 1753, at 4.) For that reason,

among others, the Special Master denied Plaintiffs’ motion to compel ZHP to

continue looking for additional versions of the document. (Id.)

D.     Special Master’s Ruling And Sanctions

       The Special Master’s Order on Plaintiffs’ motion for sanctions (SMO 98 (ECF

No. 2715)) was issued in May 2024, more than two years after briefing on the

motion was completed by the parties. In that order, the Special Master adopted

Plaintiffs’ argument that ZHP did not do enough to secure authorization for Mr.

Chen to travel for his deposition and therefore violated SMO 28, as well as Plaintiffs’

assertion (unsupported by any facts) that Mr. Chen or ZHP could have done

something to force the Chinese government to grant Mr. Chen’s travel permit

application. In particular, the Court faulted Mr. Chen and ZHP for not expressly

stating in the application that “Mr. Chen [had been] ordered by a federal court in the

United States to appear for a deposition.” (SMO 98, at 19.) The Special Master also

accepted that “ZHP ha[d] not shown that it attempted to appeal the denial [of Mr.

Chen’s travel permit] via more formal measures,” which the Special Master failed

to identify. (Id. at 20.)


3
       The Special Master also noted that ZHP had “provided a credible explanation
for [a] date-created anomaly on the July 27, 2017 email” given it was located in data
recovered from a damaged hard drive. (ECF No. 1753, at 4.)


                                          13
Case 1:19-md-02875-RMB-SAK         Document 2793-1       Filed 08/02/24    Page 18 of 38
                                   PageID: 104041



      The Special Master also found that ZHP failed to comply with SMO 54,

stating that while “ZHP has produced additional documents . . . at risk of prosecution

under the [Chinese government’s] Data Security Law, these documents do not

contain the breadth of information Plaintiffs are due.” (SMO 98, at 24.) But ZHP

certified in 2022 that it had produced all the documents and information that it had

for the four categories of documents at issue in SMO 54, including those from Ms.

Kong’s files. (See generally Bernardo Cert.)

      On July 22, the Special Master issued SMO 100, in which he concluded that

two documents “remain[ed] outstanding: (1) “the native file and metadata” for the

July 27 email; and (2) “the native files and any [additional] drafts of an internal”

irbesartan report referenced in the email. (There is no dispute that a PDF of the

email and a draft of the irbesartan report have been produced.)

      SMO 100 authorized two nominally “permissive” adverse inference

instructions regarding the Chen deposition and allegedly missing documents. The

first one would instruct jurors that:

      [i]f you find that defendants could have produced Mr. Chen for his
      deposition . . . you are permitted, but not required, to infer that . . . Mr.
      Chen’s deposition testimony would have been unfavorable to
      defendants. Specifically, you are permitted to infer that Mr. Chen’s
      deposition testimony would have included information about ZHP’s
      knowledge of the nitrosamine contamination of ZHP’s Valsartan [and]
      that information would have been unfavorable to ZHP.

(SMO 100, at 11.)



                                           14
Case 1:19-md-02875-RMB-SAK         Document 2793-1      Filed 08/02/24   Page 19 of 38
                                   PageID: 104042



       The second instruction states that:

       ZHP failed to produce relevant documents that it was ordered to
       produce in this case. Specifically, ZHP was ordered to produce the
       native form of the July 27, 2017 email written by Jinsheng Lin. The
       July 27, 2017 email references ZHP’s discussion of a problem
       presented by the finding of another nitrosamine impurity in Irbesartan,
       a similar drug manufactured by ZHP with a process similar to the
       process used to manufacture Valsartan. . . . The native form of these
       documents and their included metadata would have provided Plaintiffs
       information about when the document was written, when it was sent,
       who it was forwarded to and when, and other relevant information. . . .

       If you find that ZHP could have produced these documents and their
       metadata, and that the evidence was within their control, and that the
       documents and metadata would have been relevant in deciding disputed
       facts in this case, you are permitted, but not required, to infer that the
       evidence would have been unfavorable to ZHP.

(Id. at 12.)

       In addition to authorizing the aforementioned “adverse inference” instructions,

the Special Master also approved Plaintiffs’ request for an award of attorneys’ fees

of $309,130.00 and an award of expenses of $41,399.20. (Id. at 15.) According to

the Special Master, Plaintiffs’ submission regarding the individual attorney rates and

the number of hours spent in moving for sanctions was “reasonable.” (Id. at 15-16.)

                                    ARGUMENT

       This Court’s review of decisions issued by the Special Master is governed by

Rule 53. Fed. R. Civ. P. 53(f)(3)-(4). Objections to the Special Master’s findings

of fact and conclusions of law are subject to de novo review, unless the parties

stipulate otherwise, which they have not done here. See, e.g., Lawson v. Praxair,


                                             15
Case 1:19-md-02875-RMB-SAK        Document 2793-1      Filed 08/02/24   Page 20 of 38
                                  PageID: 104043



Inc., No. 16-2435(BRM)(DEA), 2023 U.S. Dist. LEXIS 198253, at *15-17 (D.N.J.

Apr. 28, 2023) (reversing discovery ruling by special master and stressing that the

court is “obliged to review issues de novo”). (See, e.g., ECF No. 1994, at 5 (applying

de novo standard of review to order on motion to amend answer to complaint).) “The

phrase ‘de novo determination’ . . . means an independent determination of a

controversy that accords no deference to any prior resolution of the same

controversy.” Valeant Pharms. Int’l, Inc. v. AIG Ins. Co., No. 18-493 (MAS)(LHG),

2020 U.S. Dist. LEXIS 244479, at *14-15 (D.N.J. Dec. 30, 2020) (citation omitted).

      The Court should sustain ZHP’s objections and reverse the entry of sanctions

because: (1) ZHP did not engage in any sanctionable conduct; and (2) the imposition

of two adverse inferences is contrary to law and disproportionate to the alleged

violations.

I.    ZHP DID NOT ENGAGE IN SANCTIONABLE CONDUCT.

      ZHP undertook reasonable, good-faith efforts to comply with SMO 28 and

has produced all existing responsive, non-privileged documents under SMO 54. As

a result, ZHP did not engage in conduct warranting sanctions.

      A.      ZHP Acted In Good Faith And With Reasonable Diligence To
              Secure Mr. Chen’s Presence For His Deposition.

      ZHP should not be sanctioned for the Chinese government’s refusal to allow

Mr. Chen to travel outside mainland China for a deposition.

      The Supreme Court has made it clear that a party’s “inability to comply” with


                                         16
Case 1:19-md-02875-RMB-SAK        Document 2793-1      Filed 08/02/24    Page 21 of 38
                                  PageID: 104044



discovery orders “because of foreign law” is “a weighty excuse for nonproduction,

and this excuse is not weakened because the laws preventing compliance are those

of a foreign sovereign.” Societe Internationale, 357 U.S. at 211-12 (emphasis

added). Indeed, a district court “abuse[s] its discretion” in imposing sanctions for

purported discovery violations where the foreign party has acted “in the best of faith”

by, for example, requesting that the foreign government permit it to comply with a

local discovery order. See In re Westinghouse Elec. Corp. Uranium Conts. Litig.,

563 F.2d 992, 996-98 (10th Cir. 1977); accord Societe Internationale, 357 U.S. at

208 (reversing imposition of sanctions where party did not collude with Swiss

authorities to “block inspection” of the records, “and had in good faith made diligent

efforts to execute the production order” by attempting to secure a waiver from the

foreign government); see also Lasky v. Cont’l Prods. Corp., 569 F. Supp. 1227,

1228-29 (E.D. Pa. 1983) (a court considering whether to impose any sanctions “must

weigh considerations of international comity”).

      In Westinghouse, the district court denied non-party Rio Algom’s motion to

quash, rejecting its argument that producing its Canadian-based President for a

deposition and related documents relevant to a party’s defense would violate

Canadian Uranium Information Security Regulations. Westinghouse, 563 F.2d at

994-95. After unsuccessful efforts by the defendant to convince the Canadian

Supreme Court to permit the production, Rio Algom subsequently requested the



                                          17
Case 1:19-md-02875-RMB-SAK       Document 2793-1     Filed 08/02/24   Page 22 of 38
                                 PageID: 104045



consent of the Canadian government to release the company’s records so that it could

comply with the discovery order. See id. at 995. When the Canadian government

rejected that request (rendering compliance with the discovery order impossible

under foreign law), the district court held Rio Algom in contempt and imposed a

$10,000 monetary penalty on it for each day it failed to comply. See id. The U.S.

Court of Appeals for the Tenth Circuit reversed, reasoning that “the fact of foreign

illegality” “prevent[ed] the imposition of sanctions” because Rio Algom “made

diligent effort to produce materials not subject to the Canadian regulation” and

“sought a waiver from the Canadian authorities.” Id. at 997-98. In so reasoning, the

Tenth Circuit rejected the notion that “the timing” of the request (made after the

entry of the discovery order) demonstrated a “lack of good faith” because “[t]he

letter speaks for itself.” Id. at 998. Similarly, the Tenth Circuit rejected the

unsupported “suggestion by Westinghouse” that Rio Algom somehow “caused the

non[-]disclosure regulation to be promulgated in Canada in order to cover up for its

activities or that Rio Algom and the Canadian government acted in collusion.” Id.

      ZHP acted more diligently here. Even while ZHP’s motion to quash the

deposition of Mr. Chen was pending—and despite zero efforts by Plaintiffs to secure

the discovery through foreign channels (e.g., the Hague Convention) 4 —ZHP


4
       The Special Master noted that “resort to the Hague Convention protocols” is
not a prerequisite to obtaining foreign discovery. (SMO 98, at 15.) That, however,
                                                                              (cont’d)


                                        18
Case 1:19-md-02875-RMB-SAK          Document 2793-1   Filed 08/02/24   Page 23 of 38
                                    PageID: 104046



initiated the process of obtaining the Chinese government’s permission for Mr. Chen

to travel out of mainland China for his deposition. (See Lu Decl. ¶ 3.) Nonetheless,

in late October, ZHP was informed that the Taizhou Exit-Entry Administration of

the Public Security Bureau and the Taizhou Federation of Industry and Commerce

would not grant Mr. Chen’s request. (Id. ¶¶ 7, 10.) Even after the two agencies

denied Mr. Chen’s travel permit, ZHP continued to work with the Chinese

authorities to determine whether the government’s decision could be reversed or

modified. (See ECF No. 1673, at 1-2; see also Lu Decl. ¶ 11.) Although these efforts

proved unsuccessful, they demonstrate ZHP’s diligence and good faith in attempting

to facilitate Mr. Chen’s deposition and that any “inability to comply” with Judge

Kugler’s order resulted from the actions of a foreign sovereign based on “foreign

law.”     Westinghouse, 563 F.2d at 997 (emphasis added) (quoting Societe

Internationale, 357 U.S. at 212).

        The Special Master nonetheless reasoned that ZHP’s efforts were inadequate

because it did not undertake every conceivable step to persuade the Chinese

government to grant Mr. Chen’s travel permit. (See SMO 98, at 19.) This reasoning




is a separate question from whether the requesting party’s failure to even attempt
such procedures bears on the propriety of sanctions, which the Special Master
previously recognized it does. (See ECF No. 1828 10:1-3 (“And, yes, there is this
other matter, other route of a – the route under the Hague [C]onvention, and that
might preclude imposition of sanctions.”).)


                                          19
Case 1:19-md-02875-RMB-SAK         Document 2793-1     Filed 08/02/24    Page 24 of 38
                                   PageID: 104047



fails both as a matter of law and fact.

      First, even if SMO 100 were correct as a factual matter (which it is not), the

applicable standard is whether ZHP acted in “good faith”—not whether it exhausted

every possibility. See Westinghouse, 563 F.2d at 998. The handful of cases cited by

the Special Master purportedly “addressing similar circumstances” are not to the

contrary. (SMO 100, at 7.) For example, in Giorgi Global Holdings, Inc. v. Smulski,

No. 17-4416, 2022 WL 4389523, at *4 (E.D. Pa. Sept. 22, 2022), the plaintiffs

alleged that the defendant father and son “hid and laundered” money in foreign bank

accounts. Id. at *1. Although the son was told by the foreign banks that he could

produce key records from the accounts as long as he was the father’s heir, “he

rejected his status as [the father’s] heir,” meaning that he “created the impediment

that prevent[ed] him from producing the relevant bank records.” Id. at *6 (emphasis

added). Similarly, in Chevron Corp. v. Donziger, 296 F.R.D. 168 (S.D.N.Y. 2013),

the court made clear that “[w]here foreign law prevents production of documents,

good faith may be demonstrated where a party seeks a waiver of foreign law,

attempts to obtain the documents from other sources, or produces the documents in

question to the extent they are not protected by foreign law.” Id. at 216-17 (citations

omitted). It was only because the “[d]efendants did none of these things” that they

were sanctioned. Id. (emphasis added). And in Linde v. Arab Bank, PLC, 269

F.R.D. 186 (E.D.N.Y. 2010), the defendants’ letters requesting permission from



                                          20
Case 1:19-md-02875-RMB-SAK        Document 2793-1      Filed 08/02/24   Page 25 of 38
                                  PageID: 104048



foreign banking authorities to disclose confidential information “were calculated to

fail” because they “mischaracterize[d] the status of the lawsuit,” “false[ly]” stating

that the lawsuit had no “basis in reality or in the law” even though it had survived a

motion to dismiss. Id. at 199 (citation omitted).

      Although the Special Master also reasoned that a Delaware Chancery Court

ruling previously cited by Judge Kugler supports the imposition of sanctions under

these circumstances, that case is inapposite. (See SMO 100, at 8-9 (citing In re

Activision Blizzard, Inc., 86 A.3d 531 (Del. Ch. Ct. 2014)).) There, the court merely

granted a motion to compel discovery and ordered the defendants to “make a good

faith effort to secure permission from French authorities for a commissioner to

oversee the taking of a deposition in France by plaintiff’s counsel.” Id. at 552.

Because that is exactly what ZHP has done here, the Special Master’s authorities

only confirm that ZHP’s conduct with regard to Mr. Chen does not warrant the

imposition of any sanctions.5



5
       The cases cited in SMO 98 similarly hold that a corporate defendant in a
foreign country cannot avoid sanctions by simply “refus[ing] to take” any steps to
comply with a discovery order in the U.S. (e.g., requesting that the foreign
government permit the action), Estate of Boyles v. Gree USA, Inc., No. 1:20-CV-
276, 2021 WL 3292727, at *5, *7 (M.D.N.C. Aug. 2, 2021) (cited in SMO 98, at
17), or “prompt[ing]” the foreign government decision that “prevent[s]” compliance
with the discovery order in the first place. See Egyptian Chamois Co. v. Evergreen
Marine Corp., No. CV 99-5080, 2001 WL 1737458, at *6 (C.D. Cal. Jan. 25, 2001)
(cited in SMO 98, at 17) (imposing sanctions on plaintiff for failing to make its
                                                                                (cont’d)


                                         21
Case 1:19-md-02875-RMB-SAK         Document 2793-1     Filed 08/02/24    Page 26 of 38
                                   PageID: 104049



      Second, ZHP objects to the Special Master’s finding that it did not undertake

“all reasonable” steps to comply with the Court’s order for all the reasons set forth

in ZHP’s prior Objections to SMO 98 (ECF 2738-1), incorporated herein.

      As explained in more detail in those Objections, the Special Master adopted

Plaintiffs’ argument that “Mr. Chen’s visa application did not reflect the importance

of Mr. Chen’s deposition in this litigation” because it did not specify that his

appearance had been “ordered by a federal court in the United States.” (SMO 98, at

19.) But as ZHP and its expert explained, any such indication would have drawn

even greater “scrutiny,” since the Chinese government is generally suspicious of

American discovery demands made outside the Hague Convention. (deLisle Decl.

¶¶ 25, 29.) SMO 98 also faulted ZHP for not “seeking the help of a third-party

organization specializing in assisting travelers in obtaining permits or gathering

supporting documents to appeal the denial” (SMO 98, at 20; see also id. at 18), but

neither Plaintiffs nor the Special Master identified any such third-party organization,

and ZHP is not aware that one exists. Next, the Special Master took issue with

ZHP’s failure to “appeal” the Chinese government’s decision. (Id. at 20.) But ZHP

detailed the steps it took to engage in “further discussions with . . . Taizhou

Federation of Industry and Commerce to determine if the restriction on Mr. Chen’s



officer available for a deposition where the officer’s “conduct prompted the travel
ban and thereby prevented him from traveling to California”).


                                          22
Case 1:19-md-02875-RMB-SAK         Document 2793-1      Filed 08/02/24   Page 27 of 38
                                   PageID: 104050



travel could be lifted or modified.” (Id. at 19-20 (quoting Lu Decl. ¶ 11).) And

finally, the Special Master faulted ZHP for failing to “express its concerns regarding

Mr. Chen’s ability to obtain a travel permit earlier in this proceeding [or] suggest

alternative discovery tools.” (Id. at 20.) But ZHP’s counsel long ago expressed to

the Court that the Chinese government was unlikely to allow Mr. Chen to travel for

a deposition (see ECF No. 579 12:3-6; ECF No. 1673, at 1-2; ECF No. 1386-1, at 9

n.6), and offered to have him answer written questions as an alternative (see ECF

No. 1900, at 21 n.9). Plaintiffs’ counsel was not interested in that alternative.

      During the recent status conference, the Court stated that “the big question I

have is . . . what have you done about it lately?” (July 23, 2024 Hr’g Tr. 153:25-

154:1.) ZHP understood the Court to be suggesting that ZHP should have re-filed

an application for Mr. Chen to obtain a travel permit in the interceding years since

his application was denied. However, in order to file a new application to leave the

country, Mr. Chen (who has not left mainland China since the application denial)

would need to identify a new event/reason for his travel. If the Court enters an order

instructing Mr. Chen to be in a particular place at a specified time with an identified

reason, he would be able to submit a new application and it would be processed.

ZHP would, of course, act in good faith to submit such an application as soon as

possible.




                                          23
Case 1:19-md-02875-RMB-SAK         Document 2793-1     Filed 08/02/24    Page 28 of 38
                                   PageID: 104051



      B.     ZHP Produced The Documents That The Special Master Found
             Remain Outstanding.

      The Special Master’s second ground for imposing sanctions is ZHP’s

supposed non-compliance with SMO 54, which required the production of

documents from the following four categories: (1) the custodial file of Mr. Chen’s

chief of staff, Ms. Kong; (2) an investigative report regarding alleged contamination

of irbesartan; (3) all documents referencing “TC-201729,” the project name for a

lab-scale study of irbesartan; and (4) all documents relating to the batch testing for

nitrosamines referenced in PRINSTON0075797. (SMO 98, at 5.) This basis is even

more erroneous than the first because ZHP produced all non-privileged documents

in its possession that fall within each of these categories more than a year and a half

ago. (See, e.g., Bernardo Cert. ¶ 3 (“ZHP conducted reasonable and duly diligent

searches to identify documents responsive to SMO 54 and produced responsive, non-

privileged documents identified.”).)     As a result, ZHP has complied with the

document-related discovery order, effectively mooting this portion of Plaintiffs’

motion. See, e.g., Castellani v. City of Atlantic City, No. 13-5848 (JBS/AMD), 2016

WL 7131576, at *5 (D.N.J. June 30, 2016) (sanctions “not warranted” where

defendant made a production, “albeit after the deadline imposed by the [c]ourt’s . . .

[o]rder,” in a form that defendant believed to be sufficient); Givaudan Fragrances

Corp. v. Krivda, No. 08-4409 (PGS), 2012 WL 12917268, at *16 (D.N.J. May 8,

2012) (denying plaintiffs’ motion for sanctions as “moot” where plaintiffs conceded


                                          24
Case 1:19-md-02875-RMB-SAK         Document 2793-1       Filed 08/02/24   Page 29 of 38
                                   PageID: 104052



that by the date of the sanctions hearing, defendants’ production was adequate).

      The Special Master nonetheless insisted that certain discovery “remain[s]

outstanding”—specifically, the native file and metadata for the July 2017 email

regarding irbesartan and the native files and any additional drafts of an internal report

regarding the evaluation of a proposed irbesartan manufacturing change at issue in

the July 2017 email. (SMO 100, at 3.) This ruling is contrary to the certification

signed by ZHP’s counsel stating that there are no additional responsive documents

within ZHP’s possession. (See Bernardo Cert.) See, e.g., Cache La Poudre Feeds,

LLC v. Land O’Lakes, Inc., 244 F.R.D. 614, 631 (D. Colo. 2007) (denying plaintiff’s

motion for sanctions for failing to produce certain documents; “[o]n the available

record, the court must accept, at face value, [d]efendants’ representations that they

did not keep” such documents); Prokosch v. Catalina Lighting, Inc., 193 F.R.D. 633,

637 (D. Minn. 2000) (denying motion for sanctions based on purported failure to

produce documents because a court “must accept, at face value, a party’s

representation that it has fully produced all materials that are discoverable”

regardless of whether explanation is implausible) (citation omitted).

      Importantly, the fact that these materials do not exist makes perfect sense.

The July 2017 email was only found after exhaustive searches and after data had

been recovered from a damaged hard drive. (ECF No. 1753, at 4.) Further, because

ZHP was only able to find the July 2017 email in PDF format, there was no metadata



                                           25
Case 1:19-md-02875-RMB-SAK        Document 2793-1     Filed 08/02/24   Page 30 of 38
                                  PageID: 104053



to produce with regard to that document. (See Bernardo Cert. ¶ 9.) Similarly, it is

hardly surprising that ZHP does not have additional documents related to TC-

201729—the investigation at issue in the July 2017 email—because it related to a

different drug and a proposed manufacturing process change that ZHP ultimately

chose not to adopt. Accordingly, there is no basis for disregarding ZHP’s counsel’s

representations regarding ZHP’s careful and repeated reviews of its files.

      In sum, neither of the two bases underlying the Special Master’s ruling is a

legal predicate for the imposition of sanctions. For this reason alone, the Court

should reverse the Special Master’s ruling.

II.   THE SEVERE SANCTIONS APPROVED BY THE SPECIAL
      MASTER ARE DISPROPORTIONATE AND UNCONNECTED TO
      THE ALLEGED VIOLATIONS.

      Even if there were a valid basis to conclude that ZHP engaged in sanctionable

conduct, the extreme sanctions proposed by the Special Master would be highly

improper. While the Special Master went out of his way to distinguish the “adverse

inferences” from the “death penalty” sanctions of striking ZHP’s answer and

deeming certain allegations admitted (SMO 100, at 1-2), that misapprehends the real

import of the instructions. Regardless of how they are labeled, the practical effect

of the instructions is to invite jurors to assume that ZHP knew of (and actively hid)

the presence of nitrosamines at the time the July 27, 2017 email about irbesartan was

written. The Court should reject such a result because it: (1) is disproportionate to



                                         26
Case 1:19-md-02875-RMB-SAK         Document 2793-1      Filed 08/02/24   Page 31 of 38
                                   PageID: 104054



the wrongdoing alleged and therefore not a “just” punishment; and (2) lacks the

required connection to the discovery at issue.

      First, the adverse inference instructions are disproportionate. As courts have

recognized, a sanction that essentially robs a party of asserting or contesting a

required element of a claim at issue is akin to the extreme sanction of a default

judgment. See FS2 Cap. Partners, LLC v. Church, No. 14-4933, 2015 WL 246339,

at *4-5 (E.D. Pa. Jan. 16, 2015) (declining to issue court order stating that an element

of the plaintiff’s claim was met as a sanction for the defendant’s failure to sit for a

deposition because such a finding would be “equivalent to default judgment”). For

this reason, courts in the Third Circuit and elsewhere routinely reject the imposition

of adverse inferences as discovery sanctions where they would have the practical

effect of instructing the jury that an element of the claims against a defendant has

been established. See, e.g., Gertcher v. Therrian, No. 2:20-cv-240, 2022 WL

842655, at *6 (W.D. Mich. Mar. 22, 2022) (denying motion for adverse inference

concerning the content of destroyed evidence because “a mandatory adverse

inference instruction would have much the same effect as a default judgment”); In

re Lands’ End Leasing, Inc., 220 B.R. 226, 233 (Bankr. D.N.J. 1998) (refusing to

issue sanctions order deeming the facts in the complaint established based on party’s

refusal to appropriately respond to sanctions order; “the Third Circuit . . . guard[s]

the right to one’s day in court so zealously” that failing to adhere to a sanction order



                                          27
Case 1:19-md-02875-RMB-SAK          Document 2793-1       Filed 08/02/24   Page 32 of 38
                                    PageID: 104055



is not “sufficiently egregious to forfeit that right”).

      The sanctions entered by the Special Master would do precisely that by

suggesting to jurors that a deposition of Mr. Chen would have credited Plaintiffs’

theory of the case—i.e., that ZHP hid information regarding the potential for

nitrosamine formation in Valsartan in 2017. While the instructions are technically

couched in permissive terms—i.e., that jurors “are permitted to infer” rather than

required to infer—jurors are likely to interpret it as a strong recommendation by the

Court that they accept Plaintiffs’ theory that ZHP was aware its valsartan API

contained nitrosamines at least a year before the product recall and that ZHP and its

President engaged in deceptive conduct by hiding that information from valsartan

users, consumers and third-party payors. Such a sanction is not appropriate under

Third Circuit law, especially absent any evidence of bad faith on the part of ZHP, as

discussed extensively above.6

      Second, the Special Master’s proposed adverse inferences that “Mr. Chen’s




6
       In a footnote, the Special Master reasoned that “[o]rdering the permissive
adverse inference, which ZHP may rebut through available evidence already
produced in this case, does not create a substantive concern” like the one at issue in
Clientron Corp. v. Devon IT, Inc., 894 F.3d 568, 581 (3d Cir. 2018). (SMO 100, at
6 n.2.) In Clientron, the sanctioned party violated due process by “circumvent[ing]
the substantive law.” Id. at 581. Similar logic applies here because the effect of the
entered instructions would be to effectively abrogate Plaintiffs’ burden of proof with
regard to the critical knowledge and scienter elements of their state-law causes of
action.


                                            28
Case 1:19-md-02875-RMB-SAK         Document 2793-1     Filed 08/02/24    Page 33 of 38
                                   PageID: 104056



deposition would have been unfavorable to defendants”; that the purportedly missing

“metadata” “would have been unfavorable to ZHP”; and that they would have

“included information about ZHP’s knowledge” are especially inappropriate

because they are not factually or logically linked to the discovery that Plaintiffs are

purportedly missing.

      It is well recognized that “[b]efore drawing an adverse inference, courts

typically require some showing, by circumstantial evidence or otherwise, of the

content of the destroyed evidence,” as well as a showing that a “reasonable jury

could infer that the [missing discovery] contained” the information the jury is

instructed to infer. Emerson v. Wetherill, No. CIV. 92-4082, 1994 WL 249769, at

*3 (E.D. Pa. June 1, 1994) (rejecting adverse inference that a party “committed prior

acts of misconduct” as a sanction for the loss of documents because “no reasonable

jury could infer that the destroyed documents contained such information”); Consol.

Aluminum Corp. v. Alcoa, Inc., 244 F.R.D. 335, 346-47 (M.D. La. 2006) (rejecting

adverse inference sanction because, “before an adverse inference may be drawn,

there must be some showing that there is in fact a nexus between the proposed

inference and the information contained in the lost evidence,” and there was no

“extrinsic evidence establishing that the lost evidence would have supported” the

proposed adverse inferences).

      For example, in Sovulj v. United States, No. 98 CV 5550FBRML, 2005 WL



                                          29
Case 1:19-md-02875-RMB-SAK          Document 2793-1      Filed 08/02/24    Page 34 of 38
                                    PageID: 104057



2290495, at *5 (E.D.N.Y. Sept. 20, 2005), on reconsideration, No. 98-CV-5550

(FB), 2008 WL 11449125 (E.D.N.Y. May 13, 2008), the court refused to issue an

adverse inference that an x-ray film of the plaintiff’s deceased husband’s lung, which

was not produced despite several requests, would have shown a tumor. Id. at *3, *6.

According to the court, the purpose of an adverse inference is to “restor[e] the

prejudiced party to the same position he would have been in absent the wrongful

destruction of evidence by the opposing party.” Id. at *5 (alteration in original)

(citation omitted). The court held that the adverse inference sought “would not have

the effect of restoring the plaintiff to her position absent the destruction of the x-ray,

but rather would prejudice the defendant by allowing plaintiff to profit from the

destruction of the x-ray when no evidence has been presented to support such an

inference of its contents.” Id.

      The adverse inferences entered by the Special Master would similarly “not

have the effect of restoring the plaintiff[s]” to the position they would have been in

if ZHP’s President, Mr. Chen, could have been deposed or if the metadata related to

the July 2017 email existed. As for Plaintiffs’ inability to depose ZHP’s president,

there is no evidence that Mr. Chen, who was not an addressee on the July 27, 2017

email, was aware of the irbesartan email or internal irbesartan report in June 2017,

much less that he had “unfavorable” “knowledge of nitrosamine contamination.”

(SMO 100, at 11.) To the contrary, the testimony from ZHP employees suggests he



                                           30
Case 1:19-md-02875-RMB-SAK        Document 2793-1      Filed 08/02/24   Page 35 of 38
                                  PageID: 104058



would not have been involved in science-related issues of this kind. (See, e.g., ECF

No. 2663-27 at Ex. 1 96:5-21; ECF No. 2663-12 598:9-610:7.) And even if there

were evidence of Mr. Chen’s awareness, the issue at that stage related to irbesartan,

which has nothing to do with the TPP valsartan trial at which these sanctions are to

be imposed. Moreover, Plaintiffs have the July 27, 2017 email and irbesartan

investigation report in their possession, along with deposition testimony about them

from multiple ZHP witnesses. And if Plaintiffs believed they needed testimony from

Mr. Chen to present their arguments to the jury, they could have pursued a written

deposition; instead, they declined to do so, possibly in hopes they could obtain a

windfall through a sanctions motion.

      The instruction related to so-called “withheld documents” likewise cannot be

justified. This instruction is predicated on the finding that ZHP supposedly failed to

produce “the native file and metadata regarding the July 27, 2017 email, and the

native files and any drafts of the internal Irbesartan Report regarding the

investigation.” (SMO 100, at 10.) But, as explained in detail above, ZHP’s counsel

searched for those documents and issued a certification in 2022 confirming that, to

the extent such documents existed, they had been produced. Thus, the record

demonstrates that there is no “missing” evidence pertaining to the July 27, 2017

email in ZHP’s control.

      In any event, Plaintiffs already have all of the information that any metadata



                                         31
Case 1:19-md-02875-RMB-SAK        Document 2793-1      Filed 08/02/24   Page 36 of 38
                                  PageID: 104059



could possibly reveal related to the July 2017 email and irbesartan investigation.

Thus, even a permissive adverse inference would provide them a substantial windfall

rather than a level playing field. In particular, although the instruction claims that

additional data “would have provided Plaintiffs information about when the

document was written, when it was sent, who it was forwarded to, and when” (SMO

100, at 12), Plaintiffs already know who wrote the email, when it was written and

who received it.    Similarly, all of the Excel documents that were located in

connection with the irbesartan investigation were produced with metadata. Neither

Plaintiffs nor the Special Master has identified what additional metadata or report

drafts could possibly show.

      In short, instructing jurors that they “are permitted to infer” that any missing

evidence would have provided “unfavorable information” or suggested “ZHP’s

knowledge of the nitrosamine contamination” has no evidentiary support.

      For this reason, too, the Special Master’s “adverse inference” sanctions should

be overturned.

                                  CONCLUSION

      For the foregoing reasons, the Court should sustain ZHP’s objections to the

Special Master’s Order, reverse the Special Master’s rulings in SMO 100, and deny

Plaintiffs’ motion for Rule 37 sanctions.

Dated: August 2, 2024                  Respectfully submitted,



                                            32
Case 1:19-md-02875-RMB-SAK   Document 2793-1   Filed 08/02/24   Page 37 of 38
                             PageID: 104060



                                 By: /s/ Jessica Davidson
                                 SKADDEN, ARPS, SLATE, MEAGHER &
                                 FLOM LLP
                                 Jessica Davidson (NY Bar No. 6034748)
                                 Allison M. Brown (NJ Bar No. 044992012)
                                 One Manhattan West
                                 New York, New York 10001
                                 Phone: (212) 735-3222
                                 Fax: (917) 777-3222
                                 jessica.davidson@skadden.com
                                 allison.brown@skadden.com

                                 Nina R. Rose (DC Bar No. 975927)
                                 SKADDEN, ARPS, SLATE, MEAGHER &
                                 FLOM LLP
                                 1440 New York Avenue, N.W.
                                 Washington, D.C. 20005
                                 Telephone: (202) 371-7000
                                 Facsimile: (202) 661-0525
                                 nina.rose@skadden.com

                                    Attorneys for Zhejiang Huahai
                                    Pharmaceutical Co., Ltd.




                                   33
Case 1:19-md-02875-RMB-SAK         Document 2793-1     Filed 08/02/24      Page 38 of 38
                                   PageID: 104061



                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on August 2, 2024, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will send

a notice of electronic filing to all CM/ECF participants in this matter.

                                        /s/ Jessica Davidson
                                        Jessica Davidson (NY Bar No. 6034748)




                                          34
